         Case 4:22-cv-02152 Document 1 Filed on 06/30/22 in TXSD Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                   (Houston Division)

 R.W. A MINOR, BY AND THROUGH                         §
 HERPARENT AND NEXT FRIEND,                           §
 MEREDITH RODRIGUEZ,                                  §
                                                      §
                                   Plaintiffs,        §
                                                      §
     v.                                               §    Civil Action No. 4:22-cv-2152
                                                      §
                                                      §
                                                      §    JURY TRIAL DEMANDED
 KLEIN INDEPENDENT SCHOOL                             §
 DISTRICT                                             §
                      Defendant.                      §
                                                      §
                                                      §


                            PLAINTIFF’S ORIGINAL COMPLAINT


          COMES NOW the Plaintiffs, R.W., a minor, through her parent and next friend Meredith

Rodriguez, by and through their attorneys, Cherkaoui and Associates, PLLC bring forth this

Original Complaint against the Defendant Klein Independent School District, and would

respectfully show unto the court as follows:


                                            PARTIES

1.        Plaintiff R.W. is a minor who resides at 4607 Cypresswood Drive Apt 1009 Spring TX

77379.

2.        Plaintiff Meredith Rodriguez is an adult who resides at 4607 Cypresswood Drive Spring

TX 77379. Meredith Rodriguez (hereinafter referred to as Ms. Rodriguez) the mother of R.W., a

minor.




                                                 1
       Case 4:22-cv-02152 Document 1 Filed on 06/30/22 in TXSD Page 2 of 8




3.     Defendant Klein Independent School District (hereinafter referred to as “Klein ISD”) is a

corporation organized and existing under the laws of the State of Texas and maintains its principal

place of business at 7200 Spring Cypress Road, Klein, Texas 77379.

                                         JURISDICTION

4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1343, because Plaintiffs’ statutory claim asserts a federal question over which this Court

has jurisdiction.

5.      This Court has personal jurisdiction over Defendant pursuant to Fed. R. Civ. P.

4(k)(1)(a) because Defendant is domiciled in and conducts business within this judicial district.

                                              VENUE

6.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b) because all the acts and

omissions alleged herein occurred in this judicial district.

                                  FACTUAL ALLEGATIONS

7.     In its website Klein ISD boasts to the public and specifically to the parents of prospective

students a myriad of pledges and promises designed to increase enrollment and give current and

prospective parents a sense that their children are in good hands:




                          [SPACE INTENTIONALLY LEFT BLANK]




                                                  2
Case 4:22-cv-02152 Document 1 Filed on 06/30/22 in TXSD Page 3 of 8




                                3
        Case 4:22-cv-02152 Document 1 Filed on 06/30/22 in TXSD Page 4 of 8




See https://vision.kleinisd.net/.

8.       Klein ISD’s has numerous policies posted on their website that specify procedures for

reporting and investigating sexual harassment, assault and bullying, including

specifications for Title IX reporting and investigatory procedures.

9.       Based on these representations of Klein ISD and its member schools, Ms. Rodriguez and

her decided to enroll R.W. in a Klein ISD school.

10.      R.W. enrolled in Klein ISD schools on or around first grade student, when she was just

5 years old.

11.      R.W. has been diagnosed with a learning disability as defined in Section 504 of the

Rehabilitation Act of 1973.

12.      On or about January 13, 2022 R.W. was sexually assaulted by “C.B.” The incident was

caught on the schools video cameras and a video recording of the incident exists in the custody

of Klein ISD officials.

13.      In the video C.B. can clearly be seen committing multiple acts of violence against R.W.

including but not limited to:

      a) Forcefully pulling R.W. down to sit on his lap;

      b) Forcefully touching R.W.’s breasts;

      c) Forcefully sliding his hands to touch RW’s private parts;

      d) Forcefully kissing R.W.’s face

      e) Forcefully yanking R.W.’s mobile phone from her hands.

14.      Upon information and belief C.B. had committed prior acts of bullying against other

students and school staff had knowledge of C.B.’s history of bullying.




                                                 4
      Case 4:22-cv-02152 Document 1 Filed on 06/30/22 in TXSD Page 5 of 8




15.    A hysterical R.W. called Ms. Rodriguez on the day of the assault crying and asked Ms.

Rodriguez to come pick her up because she was just sexually assaulted and that she was scared.

16.    When R.W. reported the assault to her teacher, she was asked to go Ms. Hatcher, the

assistant principal who took a statement from R.W. and sent her back to her classroom. No

further action was taken by the school on the day of the assault.

17.    No one at the school contacted R.W.’s parents to report the incident.

18.    Upon information and belief C.B. had committed prior acts of bullying other students and

school staff had knowledge of C.B.’s history of bullying.

19.    No one at Klein ISD informed R.W. or Ms. Rodriguez of the Title IX protocols in place

for investigating sexual harassment and assault in Klein ISD schools, nor did they put Ms.

Rodriguez in touch with Klein ISD’s designated Title IX coordinator.

20.    C.B. was suspended for 3 days but came back to the school in 2 days.

21.    C.B and R.W. ride the same school bus and continued to ride the same bus even after the

assault occurred.

22.    After C.B.’s return from his 2-day suspension he and his friends launched a continuous

and aggressive bullying campaign against R.W. calling her a “snitch” and a “whore” and other

derogatory names and threatening physical violence against R.W. for reporting the assault.

23.    The combination of the sexual assault and the subsequent bullying by C.B. and his

friends only two days after the assault created an intolerably toxic environment that wreaked

havoc on R.W.’s mental state and caused to suffer extreme mental anguish and trauma to the

degree that she refuses to leave her house because she remained emotionally scarred by the

bullying and the assault.




                                                 5
       Case 4:22-cv-02152 Document 1 Filed on 06/30/22 in TXSD Page 6 of 8




24.     R.W. began to exhibit symptoms of depression, anxiety and PTSD. She is currently

seeking medical help.

25.     R.W.’s school performance has degraded drastically, even more so due to her learning

disability.

26.     Klein ISD did nothing to protect R.W. from subsequent bullying.



                                      CAUSE OF ACTION

                           Violation of 20 U.S.C. § 1681, et. seq.
                        Title IX of the Education Amendments Act

27.     Plaintiffs incorporate and reallege all paragraphs of this Original Complaint into this

Cause of Action.

28.     During the relevant timeframe, Klein ISD was a recipient of federal education funding

within the meaning of Title IX, 20 U.S.C. § 1681(a).

29.     Klein ISD exercised substantial control over the student who assaulted R.W.

30.     All the events giving rise to this claim occurred on Klein ISD grounds.

31.     On January 13, 2022, R.W. faced severe discrimination based on sex when she was

violently assaulted, both verbally and physically, on school grounds by C.B. and other Klein ISD

students.

32.     The assault and harassment R.W. endured were sufficiently severe, pervasive, and

objectively offensive to constitute a hostile educational environment for her at Klein ISD.

33.     Defendant Klein ISD was on actual notice of the harassment and assaults committed on

R.W. and the hostile environment that existed at the school during R.W.’s time there.

34.     Despite being on actual notice of the assaults on and harassment of R.W., Klein ISD

failed to take meaningful action to investigate the behavior and/or to protect R.W. from



                                                 6
      Case 4:22-cv-02152 Document 1 Filed on 06/30/22 in TXSD Page 7 of 8




retaliation on the part of faculty, staff, and fellow students regarding R.W.’s attempts to seek out

a safe educational environment.

35.    Klein ISD acted with deliberate indifference to the complaints and other notice

regarding the ongoing hostile education environment, ongoing threats, bullying, and

retaliation faced by R.W. after reporting that she was bullied, harassed and assaulted by C.B.

who has a history of bullying and harassing other students in the past.

36.    The hostile educational environment at Klein ISD effectively barred R.W.’s access to

educational opportunities and benefits because she was forced to leave in-person enrollment at

Klein ISD due to the continuing hostile environment at the school.

37. In addition to the foregoing violations of Title IX, Klein ISD violated its Title IX

obligations by:

       a. Failing to instruct their Title IX coordinator or any other person to receive

       Plaintiffs’ complaints about gender-based discrimination, harassments, and/or

       assaults;

       b. Failing to implement or adhere to a policy for a student’s reporting of harassment

       and/or sexual assault;

       c. Failing to implement or adhere to a program for prevention of harassment and

       assault;

       d. Failing to implement or adhere to a program or policy for investigating harassment

       or assault;

       e. Failing to implement or adhere to a program or policy for offering accommodations

       to victims of assault;

       f. Failing to implement or adhere to a program or policy for preventing retaliation




                                                 7
      Case 4:22-cv-02152 Document 1 Filed on 06/30/22 in TXSD Page 8 of 8




       against those who report harassment and/or assault; and

       g. Failing to supervise, monitor, and/or train staff to handle reports of harassment and

       assault appropriately and adequately.


                                DEMAND FOR JURY TRIAL

38. Plaintiffs demand a trial by jury on all issues in this action so triable.

                                              PRAYER

        WHEREFORE Plaintiffs demand compensatory damages to be proven at trial in

excess of the jurisdictional amount of $75,000; all costs and expenses of this lawsuit, including

attorneys’ fees; enhanced compensatory damages as permitted by law; punitive damages in an

amount to be determined at trial; and all other and further relief that justice may require.



        Respectfully submitted:

                                               /s/ Mehdi Cherkaoui
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